Case 1:20-cv-08487-ESK-AMD Document 198 Filed 03/01/22 Page 1 of 6 PageID: 2131




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

  KIMBERLY BOND, et al.,

                   Plaintiffs,
                                             Civil Action No.: 1:20-cv-08487
  v.
                                             Hon. Noel L. Hillman, U.S.D.J.
  SOLVAY SPECIALTY POLYMERS USA,             Hon. Ann Marie Donio, U.S.M.J.
  LLC, et al.,

                 Defendants.
  THERESA SLUSSER, et al.,

                   Plaintiffs,
                                             Civil Action No.: 1:20-cv-11393
  v.
                                             Hon. Noel L. Hillman, U.S.D.J.
  SOLVAY SPECIALTY POLYMERS USA,             Hon. Ann Marie Donio, U.S.M.J.
  LLC, et al.,

                  Defendants.
  CARLY CORRAR, et al.,

                   Plaintiffs,
                                             Civil Action No.: 1:21-cv-00452
  v.
                                             Hon. Noel L. Hillman, U.S.D.J.
  SOLVAY SPECIALTY POLYMERS USA,             Hon. Ann Marie Donio, U.S.M.J.
  LLC, et al.,

                 Defendants.
  TAMMY O’LEARY, et al.,

                   Plaintiffs,
                                             Civil Action No.: 1:21-cv-00217
  v.
                                             Hon. Noel L. Hillman, U.S.D.J.
  SOLVAY SPECIALTY POLYMERS USA,             Hon. Ann Marie Donio, U.S.M.J.
  LLC, et al.,

                   Defendants.




 ME1 39748726v.1
Case 1:20-cv-08487-ESK-AMD Document 198 Filed 03/01/22 Page 2 of 6 PageID: 2132




  SHIRLEY BOND,

                          Plaintiff,
                                                            Civil Action No.: 1:21-cv-11203
  v.
                                                           Hon. Noel L. Hillman, U.S.D.J.
  SOLVAY SPECIALTY POLYMERS USA,                           Hon. Ann Marie Donio, U.S.M.J.
  LLC, et al.,

                          Defendants.
  NICOLE BOND,

                          Plaintiff,
                                                            Civil Action No.: 1:21-cv-20755
  v.
                                                           Hon. Noel L. Hillman, U.S.D.J.
  SOLVAY SPECIALTY POLYMERS USA,                           Hon. Ann Marie Donio, U.S.M.J.
  LLC, et al.,

                          Defendants.


                         CONSENT ORDER CONCERNING
                EXTENSION OF TIME FOR DEFENDANTS TO ANSWER,
            PLEAD, MOVE, OR OTHERWISE RESPOND TO THE COMPLAINT

          WHEREAS, the above-captioned cases were served on all Defendants on the following

 dates:

          1) August 6, 2020 -- Kimberly Bond, et. al. v. Solvay Specialty Polymers USA LLC, et. al.,

 No.: 1:20-cv-08487-NLH-AMD;

          2) August 31, 2020 -- Slusser, et. al. v. Solvay Specialty Polymers USA LLC, et. al., No.:

 1:20-cv-11393-NLH-AMD;

          3) February 25, 2021 -- O’Leary, et. al. v. Solvay Specialty Polymers USA LLC, et. al., No.:

 1:21-cv-00217-NLH-AMD;

          4) January 13, 2021 -- Corrar, et. al. v. Solvay Specialty Polymers USA LLC, et. al., No.:

 1:21-cv-00452-NLH-AMD;


                                                   2

 ME1 39748726v.1
Case 1:20-cv-08487-ESK-AMD Document 198 Filed 03/01/22 Page 3 of 6 PageID: 2133




         5) May 18, 2021 -- Shirley Bond v. Solvay Specialty Polymers USA LLC, et. al., No.: 1:21-

 cv-11203-NLH-AMD; and

         6) January 11, 2022 -- Nicole Bond v. Solvay Specialty Polymers USA, LLC, et al., No.

 1:21-cv-20755-NLH-AMD.

         WHEREAS, on February 2, 2022, Judge Hillman issued an Opinion and Order granting

 in part and denying in part Defendants’ Motions to Dismiss in Kimberly Bond, Slusser, O’Leary,

 Corrar, and Shirley Bond;

         WHEREAS, the Parties to Nicole Bond adopted Judge Hillman’s Motion to Dismiss Opin-

 ion and Order by stipulation on February 28, 2022;

         WHEREAS, the Court has previously granted 14-day Clerk’s Extensions for the deadline

 by which Defendants were to respond to the Complaints in the above-captioned six matters;

         WHEREAS, the Court has previously granted a further extension of the deadline by which

 Defendants were to respond to the Complaints in the above-captioned six matters by consent order

 agree to by the parties;

         WHEREAS, the deadline for defendants to respond to the current Complaints in the

 above-captioned six matters is March 2, 2022;

         IT IS HEREBY STIPULATED, by and between Plaintiffs and Defendants for all six of

 the above-captioned matters, by and through their respective counsel, that all Defendants are

 granted a one week extension, to March 9, 2022, to respond to the Complaints in these matters.

 SO ORDERED on this _____ date of March, 2022.


                                                      ___________________________
                                                      ANN MARIE DONIO, U.S.M.J.




                                                 3

 ME1 39748726v.1
Case 1:20-cv-08487-ESK-AMD Document 198 Filed 03/01/22 Page 4 of 6 PageID: 2134




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                                           4

 ME1 39748726v.1
Case 1:20-cv-08487-ESK-AMD Document 198 Filed 03/01/22 Page 5 of 6 PageID: 2135




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                                               5

 ME1 39748726v.1
Case 1:20-cv-08487-ESK-AMD Document 198 Filed 03/01/22 Page 6 of 6 PageID: 2136




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                                       6

 ME1 39748726v.1
